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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1499V
                                        (not to be published)


    VERONICA WILLIAMS,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: November 14, 2022


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


John Robert Howie, Howie Law, PC, Dallas, TX, for Petitioner.

Naseem Kourosh, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

      On October 29, 2020, Veronica Williams filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she sustained a shoulder injury related to vaccine
administration and Parsonage-Turner syndrome caused by an influenza vaccine
administered on October 30, 2017. (Petition at 1). On September 22, 2022 a decision was
issued awarding compensation to Petitioner based on the parties’ stipulation. (ECF No.
40).

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Petitioner has now filed a motion for attorney’s fees and costs, dated September
22, 2022 (ECF No. 44), requesting a total award of $44,639.81 (representing $43,399.20
in fees and $1,240.61 in costs). In accordance with General Order No. 9, Petitioner filed
a signed statement indicating that she incurred no out-of-pocket expenses. (ECF No. 44-
4). Respondent reacted to the motion on September 26, 2022, indicating that he is
satisfied that the statutory requirements for an award of attorney’s fees and costs are met
in this case, but deferring resolution of the amount to be awarded to my discretion. (ECF
No. 45). On September 26, 2022, Petitioner filed a reply indicating that, “Petitioner does
no intent to file a substantive reply to Respondent’s response.” (ECF No. 46).

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $44,639.81 (representing $43,399.20 in fees and $1,240.61), as a lump
sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel. In the
absence of a timely-filed motion for review (see Appendix B to the Rules of the Court),
the Clerk shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
